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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------------   X
  BROECKER et al.,                                                :
                                                                  :
                                      Plaintiffs,                 :
                                                                  :
           -against-                                              :
                                                                  :   Case No. 21-cv-6387
                                                                  :
  NEW YORK CITY DEPARTMENT OF                                     :
  EDUCATION, et al.,                                              :
                                                                  :
                                       Defendants.                :
  -------------------------------------------------------------   X




      MEMORANDUM OF LAW OF DEFENDANTS UNITED FEDERATION OF
   TEACHERS, MICHAEL MULGREW, COUNCIL OF SCHOOL SUPERVISORS AND
      ADMINISTRATORS, AND MARK CANNIZZARO IN SUPPORT OF THEIR
              MOTION TO DISMISS THE AMENDED COMPLAINT
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                                  PRELIMINARY STATEMENT

         Defendants United Federation of Teachers, Local 2, AFT, AFL-CIO (the “UFT”), UFT

  President Michael Mulgrew (“Mulgrew”) (UFT and Mulgrew, together, the “UFT Defendants”),

  Council of School Supervisors & Administrators, Local 1, AFSA, AFL-CIO (“CSA”), and CSA

  President Mark Cannizzaro (“Cannizzaro”) (CSA and Cannizzaro, together, the “CSA

  Defendants”) have, for years, fought for and protected the interests of their members – including

  Plaintiffs – through negotiations, mediations, arbitrations, and (when necessary) litigations

  opposite Plaintiffs’ employer, Defendant New York City Department of Education (the “DOE”).

  In the face of these efforts, Plaintiffs confoundingly claim that the UFT and CSA Defendants (a)

  lack statutory authority to arbitrate on behalf of their members, despite clear, longstanding

  authority to do so; (b) conspired with the City Defendants and Arbitrator Scheinman to impinge

  on the rights of Plaintiffs, even though the UFT and CSA Defendants have previously lodged

  many of the same claims Plaintiffs have asserted in this action; and (c) aided and abetted the

  alleged violations of Plaintiffs’ rights. These claims are meritless.

         The UFT and CSA Defendants are not state actors. Nor have Plaintiffs alleged any facts

  sufficient to support a claim for conspiracy or aiding and abetting a state actor such that the UFT

  and CSA Defendants might be brought under color of state law. Indeed, Plaintiffs’ allegations,

  and indisputable facts in the public record, clearly evidence the opposite conclusion: the

  relationships between the UFT and CSA Defendants, respectively, and the DOE are inherently

  adversarial. This is underscored by the myriad negotiations, arbitrations, and litigations against




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  the DOE and City not only prior to the pandemic, but during the pandemic regarding many of the

  due process claims at issue here. 1

           Indeed, while Plaintiffs could theoretically contend that these erstwhile foes somehow

  came together to deprive them of their rights on these issues, the facts prove otherwise. For, it

  was due to the UFT and CSA Defendants’ respective inability to reach agreement with

  Defendant DOE on the implementation of personnel and pay policies relating to the Department

  of Health and Mental Hygiene’s (“DOHMH’s”) August 24, 2021 order requiring vaccination for

  workers in City educational facilities 2 (the “Mandate”) that prompted the UFT and then CSA

  engagement of Defendant (and widely-respected arbitrator) Martin Scheinman to serve the

  traditional and lawful role of mediator (for the UFT) and arbitrator (initially for the UFT, and

  thereafter for CSA).




  1
    See Municipal Labor Committee v. City of New York, 2021 WL 4502854 (Sup. Ct. N.Y. Cnty. Sept. 22, 2021)
  (facial challenge to DOHMH DOE Mandate for, inter alia, violations of substantive due process and lack of
  religious and medical exemptions), dismissed Municipal Labor Committee v. City of New York, 73 Misc. 3d 621
  (Sup. Ct. N.Y. Cnty. 2021); Matter of Municipal Labor Committee and City of New York, BCB 4458-21 (OCB
  2021) (challenge to implementation of DOHMH DOE Vaccination Mandate without bargaining). Moreover, the
  UFT and CSA Defendants supported Plaintiffs’ application for a temporary restraining order enjoining summary
  termination in the instant action, and filed suit alongside some thirty other unions to enjoin summary terminations
  across the City. See Broecker et al. v. New York City Dep’t of Educ. et al., 1:21-cv-06387 (Dkt. # 71, 77);
  Municipal Labor Committee v. City of New York, 151169/2022 (Sup. Ct. N.Y. Cnty. 2022) (procedural due process
  challenge to summary terminations), CPLR 5704 application denied, 2022-00618 (1st Dep’t Mar. 10, 2022). Other
  individuals and entities have brought claims in federal and state court challenging the facial validity of the Mandate
  and DOE’s implementation of same. These have largely been unsuccessful.
  2
    See Order of the Commissioner of Health and Mental Hygiene to Require COVID-19 Vaccination For Department
  of Education Employees, Contractors, Visitors, and Others, NEW YORK CITY DEPARTMENT OF HEALTH AND
  MENTAL HYGIENE (Aug. 24, 2021), https://www1.nyc.gov/assets/doh/downloads/pdf/covid/covid-19-vaccination-
  requirement-doe.pdf. That Order was amended twice – once to include reasonable medical and religious
  accommodations, Order of the Commissioner of Health and Mental Hygiene to Require COVID-19 Vaccination For
  Department of Education Employees, Contractors, Visitors, and Others, NEW YORK CITY DEPARTMENT OF HEALTH
  AND MENTAL HYGIENE (Sept. 15, 2021), https://www1.nyc.gov/assets/doh/downloads/pdf/covid/covid-19-
  vaccination-requirement-doe-2.pdf, and again following the dissolution of the Second Circuit’s temporary
  restraining order in a separate matter challenging the Citywide Mandate. Order of the Commissioner of Health and
  Mental Hygiene to Require COVID-19 Vaccination For Department of Education Employees, Contractors, Visitors,
  and Others, NEW YORK CITY DEPARTMENT OF HEALTH AND MENTAL HYGIENE (Sept. 28, 2021),
  https://www1.nyc.gov/assets/doh/downloads/pdf/covid/covid-19-vaccination-requirement-doe-3.pdf.



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         Contrary to Plaintiffs’ assertions, no special statutory authority is required for a

  recognized public-sector employee organization to arbitrate a dispute with a public employer.

  Nevertheless, the Taylor Law clearly provides not only that the parties may agree to arbitrate, but

  also that public policy encourages public employers and employee organizations to agree on

  procedures to resolve disputes, favoring “harmonious and cooperative” bargaining relationships.

  See N.Y. Civ. Serv. L. § 200. Plaintiffs seemingly conflate (a) the power of the New York

  Public Employment Relations Board (“PERB”) to impose interest arbitration on DOE employee

  unions, with (b) whether those unions may themselves agree to arbitrate a dispute. Likewise,

  Plaintiffs conflate contractual grievance arbitration, which employee organizations have the right

  to administer under N.Y. Civ. Serv L. § 208(1)(a), with arbitration intended to resolve an actual

  or prospective impasse in collective bargaining, which by definition is not limited to the four

  corners of an existing agreement. Arbitration of bargaining disputes, as here, is specifically

  designed to address instances where a new or amended agreement is required. To hold this

  process illegal, as Plaintiffs urge, would preclude all arbitrations in the collective bargaining

  context and invalidate all bargaining disputes that have been arbitrated by public sector unions to

  date. Indeed, Plaintiffs’ sought relief would actually endanger their rights by weakening the

  ability of public sector unions to advocate on behalf of their members.

         Thus, because the UFT and CSA Defendants are not state actors, and have not acted

  under color of state law, Plaintiffs’ conspiracy and aiding and abetting claims should be

  dismissed.

         Nonetheless, as explained herein, the arbitration awards issued in this matter are legally

  valid and satisfy the constitutional and statutory process due to Plaintiffs with regard to

  placement on leave without pay (“LWOP”) while maintaining health benefits in certain specific



                                                    3
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  circumstances. It is undisputed that the contours of public employee property rights in their

  occupations are defined by state law and contract. Here, the awards inform the contours of

  Plaintiffs’ rights in accordance with the aforementioned constitutional and statutory obligations,

  and amend the UFT and CSA Defendants’ respective collective bargaining agreements

  (“CBAs”) by law.

             Finally, Plaintiffs lack standing to directly challenge the arbitration awards 3 at issue here,

  as Plaintiffs were not parties to the arbitrations or negotiations that resulted in the Awards.

             Accordingly, all claims against the UFT and CSA Defendants should be dismissed for

  lack of standing under Fed R. Civ. P. 12(b)(1) and for failure to state a claim under Fed. R. Civ.

  P. 12(b)(6).

                                             RELEVANT FACTS

  I.         The DOE Vaccine Mandate and Related Litigation and Negotiations

             On August 24, 2021, Respondent Dave A. Chokshi, Commissioner of DOHMH, imposed

  the initial version of the Mandate, which was superseded by two subsequent orders on September

  15, 2021 and September 28, 2021 (allowing for reasonable accommodations and extending the

  compliance deadline, respectively). The operative Mandate set forth that DOE employees’

  failure to provide proof of their first COVID-19 vaccine dose by October 1, 2021 would lead to

  exclusion from DOE facilities where students are present, beginning on October 4, 2021. 4

             The UFT and CSA Defendants proceeded on two tracks, both challenging the validity of

  the Mandate in court and seeking negotiation with the DOE over related pay and personnel

  3
   See Board of Education of the City School District of the City of New York and United Federation of Teachers,
  Local 2, AFT, AFT-CIO (Impact Bargaining), Arbitration Award (Sept. 10, 2021) (the “UFT Award”), Amended
  Complaint Ex. E, and Board of Education of the City School District of the City of New York and Council of
  Supervisors and Administrators (Impact Bargaining), Arbitration Award (Sept. 15, 2021) (the “CSA Award”),
  Amended Complaint Ex. F (collectively, the “Awards”).
  4
      See supra n.2.



                                                         4
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  policies the DOE sought to implement. In New York Supreme Court, the UFT and CSA

  Defendants, together with the MLC and other unions, argued that the Mandate itself (a) violates

  employees’ individual bodily integrity and right to refuse medical treatment by forcing

  employees to undergo unwanted medical procedures or be precluded from engaging in their

  chosen professions; (b) violates employees’ due process rights by involuntarily preventing

  permanently-appointed DOE and City employees declining vaccination from engaging in their

  employment, resulting in a deprivation of their vested property rights in violation of the

  Fourteenth Amendment, Article 1 § 6 of the New York Constitution, N.Y. Education Law §§

  3020 and 3020-a, and N.Y. Civil Service Law § 75; and (c) fails to provide required exceptions

  for those with medical contraindications or sincerely-held religious objections to inoculation. 5

             The court (Love, J.S.C.) initially granted a temporary restraining order due to the

  Mandate’s failure to provide for medical and religious objections. When that was cured by an

  amended order, the court denied the requested preliminary injunction. However, the court did

  not make any findings with regard to the DOE’s then-planned pay and personnel policies – it

  only considered the Mandate’s requirement that one need be vaccinated to enter a DOE facility

  where students are present, provided no medical or religious accommodation applied. 6

             The DOE initially engaged in bargaining with the UFT on the impact and implementation

  of the Mandate, and on September 1, 2021, the UFT filed a Declaration of Impasse with PERB.

  (Amended Complaint ¶ 148). PERB found the matter appropriate for impasse assistance, and

  appointed Defendant Martin F. Scheinman to mediate the matter. (Amended Complaint ¶ 134).




  5
      MLC et al. v. City of New York et al., 158368/2021 (Sup. Ct. N.Y. Cnty.).
  6
      See, generally, New York Mun. Labor Comm. v. City of New York, 73 Misc. 3d 621 (Sup. Ct. N.Y. Cnty. 2021)



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             On September 10, 2021, after expedited mediation and then binding arbitration between

  the UFT, the City, and the DOE, covering a period of 18 days, Arbitrator Scheinman issued the

  UFT Award (Amended Complaint Ex. E) concerning pay and personnel policies related to the

  implementation of the Mandate.

             Simultaneously, and separately, CSA was also engaged in negotiations with the City and

  DOE regarding pay and personnel policies applicable to their constituents. These negotiations

  also went to binding arbitration and produced its own award from Arbitrator Scheinman on

  September 15, 2021. (Amended Complaint Ex. F).

             Although the arguments and relief sought in each arbitration was specific to those unions,

  the Awards generally provide, as relevant here, that:

                 a. Employees had until November 30, 2021 to elect to either (1) separate from

                     service with incentives or (2) remain on an extended unpaid leave through

                     September 5, 2022 with health benefits and an ability to return upon vaccination

                     or lifting of the Mandate.

                 b. If an unvaccinated employee did not select either of these options by the deadline,

                     as of December 1, 2021, the City employers “shall seek to unilaterally separate

                     employees who have not opted” to either separate from service or remain on an

                     unpaid leave. However, all parties reserved their existing rights in this regard, as

                     the Awards explicitly state: “except for the express provisions contained, herein,

                     all parties retain all legal rights at all times relevant, herein.” 7

             The terms of the Awards are incorporated into the UFT Defendants’ and CSA

  Defendants’ respective CBAs.

  7
      See Amended Complaint. Ex. E at 17-18 and Ex. F at 14 (emphasis added).



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  II.      The UFT and CSA Defendants Challenge Plaintiffs’ Summary Terminations

           On January 31, 2022, the DOE disseminated summary termination notices to

  unvaccinated employees who had not obtained an accommodation or elected an extended leave,

  where applicable, stating that their employment would cease on February 11, 2022. See

  Memorandum & Order, Dkt. # 89, at *4-5. Although the UFT and CSA Defendants disagree

  with Plaintiffs’ contentions that the unions conspired in, or aided and abetted, alleged violations

  of Plaintiffs’ statutory and contractual rights, the UFT and CSA Defendants agreed with

  Plaintiffs that the DOE terminations noticed on January 31, 2022 were violations of employee

  due process rights. 8

           The UFT and CSA Defendants and – separately – Plaintiffs filed letters before this Court

  seeking leave to move to enjoin these terminations. (Dkt. # 72, 73). On February 7, 2022, the

  Court denied the UFT and CSA Defendants’ request, questioning whether the UFT and CSA

  Defendants had standing to make the argument in the instant action; however, the Court allowed

  Plaintiffs’ motion to proceed. The UFT and CSA then submitted a letter in support of Plaintiffs’

  application for a temporary restraining order. (Dkt. #77).

           In an attempt to enjoin the summary terminations of employees Citywide, the UFT and

  CSA Defendants, along with a broader coalition of unions led by the Municipal Labor

  Committee, brought suit by order to show cause in the Supreme Court, New York County. See

  Municipal Labor Committee v. City of New York, 151169/2022 (Sup. Ct. N.Y. Cnty. 2022).

  There, Justice Kim denied the unions’ application for a temporary restraining order. A CPLR

  5704 motion for emergency reconsideration of the application for a temporary restraining order


  8
    While Plaintiffs allege that the UFT and CSA Defendants conspired with other Defendants to infringe on their due
  process rights vis-à-vis, inter alia, LWOP, Plaintiffs do not allege that the unions conspired to deprive Plaintiffs of
  their right to statutory and contractual procedures regarding termination.



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  to enjoin the terminations was also rejected by the First Department. See 2022-00618 (1st Dep’t

  Mar. 10, 2022).

          Subsequently, Plaintiffs’ motion for emergency relief in this case was rejected. See

  Memorandum & Order, Dkt. # 89. 9

          While the UFT and CSA Defendants do not here rehash those arguments, the unions’

  adversity to the DOE (and alignment with Plaintiffs) on this issue further belies Plaintiffs’

  arguments that the UFT and CSA Defendants have conspired with, or aided and abetted, the

  DOE in violation of Plaintiffs’ rights. Rather, the UFT and CSA have continued to fight for

  those rights, thereby obviating Plaintiffs’ allegations.

                                                   ARGUMENT

  I.      PLAINTIFFS LACK STANDING TO DIRECTLY CHALLENGE THE AWARDS

          As this Court has recognized, 10 “an individual employee represented by a union generally

  does not have standing to challenge an arbitration proceeding to which the union and the

  employer were the only parties.” See also Katir v. Columbia Univ., 15 F.3d 23, 24-25 (2d

  Cir.1994) (employee lacked standing to challenge disciplinary arbitration award); Fleischer v.

  Barnard College, 20-4213, 2021 WL 5365581, at *4 n.1 (2d Cir. Nov. 18, 2021) (accord).

  Likewise, New York state courts have held that current or former union members cannot

  challenge the validity of CBAs as non-parties to, or third-party beneficiaries of, those


  9
    The UFT and CSA Defendants believe, as they have previously argued both before this Court and the Supreme
  Court, New York County, that (a) the Awards do not give the DOE the right to summarily terminate unvaccinated
  employees who have not selected from the personnel policies available to them by November 30, 2021; and (b)
  vaccination is not a “condition” or “qualification” for employment that removes employment decisions on that basis
  from the gamut of statutory or contractual disciplinary processes. Rather, the Awards state that the City can “seek
  to” terminate those employees from December 2021 onwards, which they have now done in a manner which
  Plaintiffs and the UFT and CSA Defendants believe impermissible, given the Awards’ explicit reservation of rights.
  10
    Broecker et al. v. New York City Dep’t of Educ. et al., __ F.Supp.3d __, 2021 WL 5514656, at *6 (E.D.N.Y. Nov.
  24, 2021)



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  agreements. See Fiore v. Town of Whitestown, 125 A.D.3d 1527, 1530 (4th Dep’t 2015), lv. to

  appeal denied 25 N.Y.3d 910 (2015); see also Leblanc v. Security Servs. Unit Empls. of N.Y.

  State Law Enforcement Officers Union, Council 82, AFSCME, AFL-CIO, 278 A.D.2d 732, 733-

  34 (3d Dep’t 2000) (affirming dismissal of employees’ breach of contract claims against union,

  reasoning that the employees were not parties to the CBA and lacked third-party beneficiary

  standing). Therefore, Plaintiffs’ standing to challenge the propriety of the Awards’ issuances is

  dubious at best, for they were not directly involved in the arbitrations and negotiations that

  resulted in the Awards. See, e.g., Katir, 15 F.3d at 24 ; In re Soto, 7 N.Y.2d 397, 399 (1960).

         Therefore, Plaintiffs’ claims regarding the purported invalidity of the Awards should be

  dismissed under Fed. R. Civ. P. 12(b)(1).

  II.    PLAINTIFFS FAIL TO STATE A CLAIM AGAINST THE UFT AND CSA
         DEFENDANTS

         A.      Standard of Review Under Fed. R. Civ. P. 12(b)(6)

         To defeat a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a plaintiff

  must plead sufficient facts “to state a claim to relief that is plausible on its face.” Bell Atl. Corp.

  v. Twombly, 550 U.S. 544, 570 (2007). A claim is plausible when it has “factual content that

  allows the court to draw the reasonable inference that the defendant is liable for the misconduct

  alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 556). A

  plaintiff must allege sufficient facts to show “more than a sheer possibility that a defendant has

  acted unlawfully.” Iqbal, 556 U.S. at 678. If plaintiffs have not “nudged their claims across the

  line from conceivable to plausible, their complaint must be dismissed.” Twombly, 550 U.S. at

  570. Courts must accept as true the allegations in the complaint, but “[t]hreadbare recitals of the

  elements of a cause of action, supported by mere conclusory statements, do not suffice.” Iqbal,

  556 U.S. at 678.


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         Moreover, courts “are not bound to accept as true a legal conclusion couched as a factual

  allegation.” Twombly, 550 U.S. at 555. Federal courts apply this standard to claims under both

  state and federal law. See Hanna v. Plumer, 380 U.S. 460, 465 (1965); Cooper v. New York

  State Dep’t of Labor, 819 F.3d 678, 680 (2d Cir. 2016).

         Plaintiffs cannot satisfy this standard as against the UFT and CSA Defendants. Rather,

  they assert barebone (and arguably frivolous) allegations of conspiracy between unions and the

  DOE – which have an inherently adversarial relationship – and besmirch a neutral arbitrator.

  They fail to expound on the details of this alleged conspiracy, including how or why it arose, or

  what benefits anyone (especially the UFT and CSA Defendants) would glean from such a

  scheme. See, e.g., Ciambriello v. Cnty. Of Nassau, 292 F.3d 307, 324 (2d Cir. 2002) (affirming

  12(b)(6) dismissal of, inter alia, § 1983 conspiracy claims, and holding that “conclusory

  allegations are insufficient to state” such a claim). Plaintiffs’ aiding and abetting allegations are

  similarly infirm. See, e.g., Figueroa v. City of Camden, 580 F. Supp. 2d 390, 401-02 (D. N.J.

  2008) (citing Ciambriello and dismissing claims that a union aided and abetted a § 1983

  violation where “nothing in the pleadings indicate that the Unions were acting ‘under color of

  state law’” and the complaint, on its face contained “no specific factual allegations to support a

  claim that the Unions conspired with the state actors in violation of § 1983.”). These claims

  should be dismissed.

         B.      Plaintiffs Fail to Allege Facts Sufficient to Support Violations of 42 U.S.C. §1983
                 By Defendants UFT, Mulgrew, CSA, or Cannizzaro

         Defendants UFT and CSA are public employee labor organizations pursuant to New

  York Civ. Serv. L. § 200 et seq., and Defendants Mulgrew and Cannizzaro are private

  individuals who have been elected presidents of their respective unions. State and federal courts

  – including this Court – have explicitly recognized that the UFT is not a state actor. See Driskell


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  v. New York City, 11 Civ. 4915 (BMC), 2011 WL 6812516, at *3 (E.D.N.Y. Dec. 27, 2011)

  (citing Ciambriello, 292 F.3d 307, 323 (2d Cir. 2003)) (“Plaintiff does not allege that the UFT is

  a state actor, nor could she.”); see also Callaghan v. United Federation of Teachers, 133 A.D.3d

  412 (1st Dep’t 2015) (in action against the UFT and its president, holding that the UFT is a

  private actor, and that “courts in this State have consistently held that unions, even those

  representing public employees, such as the UFT, are not state actors”). Likewise, CSA also

  represents public employees, and is not itself a state actor.

         Furthermore, as a general rule, labor unions – including public-sector unions – and their

  agents are not state actors. See Ciambriello, 292 F.3d at 323 (stating that New York’s Civil

  Service Employees Association (CSEA) was not a state actor for the purposes of 42 U.S.C. §

  1983). Nor does the mere fact that a union represents public employees render that union a state

  actor. See Harmon v. Matarazzo, 162 F.3d 1147 (2d Cir. 1998) (Table) (dismissing plaintiff’s §

  1983 claim against president of the Patrolmen’s Benevolent Association, and noting that the

  Patrolmen’s Benevolent Association is an independent private entity that is in no way

  intertwined with the police department, except to the extent that its members are police officers).

         Rather, the UFT and CSA Defendants maintain an “inherently advers[ar]ial” relationship

  with the state employers who employ their members and others they represent. See Mehrhoff v.

  William Floyd Union Free School District, No. 04-CV-3850, 2005 WL 2077292, at * 4

  (E.D.N.Y. Aug. 22, 2005); see also McGovern v. Local 456, Int’l Bhd. Of Trustees, 107 F. Supp.

  2d 311, 317-18 (S.D.N.Y. 2000). This is true even where some union members are dissatisfied

  with the result of negotiations. See McGovern, 107 F. Supp. 2d. at 318 (“The Union's failure to

  ‘win’ on every point…and its compromise with the County result[ing] in the agreement, do

  not…transform the Union's activity into state action.”).



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          Therefore, Plaintiffs’ burden is high, and unsatisfied. To survive a motion to dismiss,

  Plaintiffs must allege facts showing that UFT and CSA Defendants were acting under the color

  of state law when engaging in the alleged violation. See Dennis v. Sparks, 449 U.S. 24, 27

  (1980). In general, there are three main situations where private action is treated as state action

  under § 1983: “(1) when the private actor performs a traditional state function; (2) when a

  symbiotic relationship or close nexus exists between the private actor and the state; and (3) when

  the private actor is a willful participant in joint activity with the State or its agents.” See

  Commodari v. Long Island Univ., 89 F. Supp. 2d 353, 373 (E.D.N.Y. 2000), aff’d, 62 F. App’x

  28 (2d Cir. 2003) (internal citations and quotations omitted). None of these factors are satisfied

  here.

          The UFT and CSA Defendants are not performing a traditional state function, which is

  limited to actions which are “traditionally the exclusive prerogative of the State.” National

  Broadcasting Co. v. Communications Workers of America, 860 F.2d 1022, 1026 (11th Cir.

  1988) (citing Jackson v. Metropolitan Edison Co., 419 U.S. 345, 353 (1988)). Similarly, the

  UFT and CSA Defendants have no close nexus with the DOE or any other state institution,

  which exists when a private actor's conduct “has sufficiently received the imprimatur of the State

  so as to render it an action of the State.” Sykes v. Bank of America, 723 F.3d 399, 406 (2d Cir.

  2013) (internal citations omitted).

          There is also no symbiotic relationship between the UFT and CSA Defendants and the

  City Defendants. To establish such a relationship, Plaintiffs must show that the UFT and CSA

  Defendants “ha[ve] so far insinuated [themselves] into a position of interdependence with [the

  City Defendants] that [they] must be recognized as a joint participant in the challenged activity.”

  See Burton v. Wilmington Parking Auth., 365 U.S. 715, 725 (1961). Here, the UFT and CSA



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  Defendants have acted as a bulwark against the very City mandates Plaintiffs now challenge – a

  far cry from the symbiotic relationship or “willful participation” required under § 1983.

         Nor have Plaintiffs mustered more than “mere[ ] conclusory allegation[s] that [UFT and

  CSA Defendants,] private entit[ies,] acted in concert with” the DOE, the City, or other

  Defendants. See Ciambriello, 292 F.3d at 324 (holding that CSEA was not acting under color of

  state law, and dismissing § 1983). Such “diffuse and expansive allegations are insufficient,

  unless amplified by specific instances of misconduct[,]” which Plaintiffs have not plead. See

  Jessamy v. City of New Rochelle, New York, 292 F. Supp. 2d 498, 513 (S.D.N.Y. 2003) (citing

  Pangburn v. Culbertson, 200 F.3d 65, 72 (2d Cir. 1999)). To the contrary, as evidenced supra,

  the UFT and CSA Defendants have actively sought to protect the interests of their respective

  members – including those who choose not to become vaccinated – throughout the

  announcement and implementation of the Mandate. These actions constitute significantly more

  adversity to the interests of the City than courts have found necessary to stave off a § 1983 claim

  against a private actor.

         Leahy v. Board of Trustees, 912 F.2d 917 (7th Cir. 1990), is instructive. There, a college

  teacher brought suit against his public employee union under 42 U.S.C. § 1983 on grounds that

  the union had refused to take his grievance to arbitration. The court found that he had alleged no

  facts “supporting the conclusion or inference that the Union has either acted as a state

  instrumentality, performed traditionally exclusive sovereign functions, or been compelled or

  even encouraged by the state to make the decisions challenged in his complaint.” See id. at 921.

  Rather, the allegations of conspiracy and refusal to arbitrate grievances were held conclusory.

  See id.; see also Ciambriello, 292 F.3d at 324 (“conclusory allegations of conspiracy [rang]

  especially hollow in light of the adversarial relationship between the County and CSEA”).



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             In the instant case, Plaintiffs allege no specific facts or instances of misconduct or

  conspiracy by the UFT or CSA Defendants. Instead, they make a series of nonspecific, repetitive

  claims that the UFT and CSA Defendants conspired with the City Defendants, Arbitrator

  Scheinman, SAMS, and SAMS LLC (in various combinations) to have Arbitrator Scheinman

  issue the awards, ¶¶ 135, 170-75, 179-86, 331-35, 341-47, 350, 359, 362, 367-371, 374-75, 377-

  83, 386, 395, 398, 438-442, purportedly as part of an unspecified “kickback” scheme that

  confoundingly included the goal of placing Plaintiffs on LWOP, ¶¶ 335, 338-39, 371, 374-75. 11

  Furthermore, allegations relating to Defendants Mulgrew and Cannizzaro ring especially hollow.

  Defendants Mulgrew and Cannizzaro are the presidents of Defendants UFT and CSA,

  respectively. The Amended Complaint contains no specific allegations concerning actions either

  took as individuals, but instead imputes purported union malfeasance to their officers in

  conclusory fashion.

             Contrary to Plaintiffs’ allegations, the negotiations and arbitrations which produced the

  Awards do not constitute evidence of a conspiracy; they are evidence of adversity. The UFT and

  CSA Defendants protected the interests of their members – including those who choose not to

  become vaccinated – throughout the pandemic, challenging the Mandate and its implementation

  in both adversarial negotiations and in court: in fact, the UFT and CSA were part of the initial

  suit that compelled the City to consider medical and religious accommodation requests (which

  the City initially had declined to do). 12




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     It is particularly perplexing what benefits the UFT or CSA Defendants are alleged to have sought from this
  fictional scheme, the purported goals of which run contra to the many suits brought by the UFT and CSA in defense
  of Plaintiffs and others similarly situated. See supra n.1.
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       MLC et al. v. City of New York et al., 158368/2021 (Sup. Ct. N.Y. Cnty.).



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            Plaintiffs also make nothing but conclusory allegations that the UFT and CSA

  Defendants’ actions towards the DOE and Arbitrator Scheinman constitute a conspiracy. The

  notion that submitting an adversarial dispute to a mediator (who by definition is called to help

  resolve a dispute) under the auspices of New York’s Taylor Law, or an arbitrator, results in an

  actionable conspiracy under § 1983 would render essentially all public sector labor relations

  actions evidence of a conspiracy. But that is not the law, and Plaintiffs therefore have no claim.

            Likewise, Plaintiffs’ “aiding and abetting” 13 theories are conclusory, unsupported by fact,

  and should be dismissed. As argued supra, the UFT and CSA Defendants have engaged in no

  conduct with, or in support of, the City Defendants or any other Defendants capable of

  supporting an “aiding and abetting” claim under § 1983. Rather, the UFT and CSA’s litigations

  against the City, arbitrations, and prior precedent on the topic point to the simple truth that UFT

  and CSA Defendants’ actions are – and have always been – both inherently adversarial to the

  City Defendants, and in Plaintiffs’ interests. See, e.g., New York City Mun. Labor Comm. v.

  City of New York, 73 Misc. 3d 621 (Sup. Ct. N.Y. Cnty. 2021); Mehrhoff, 2005 WL 2077292,

  at * 4.

            Even if Plaintiffs could support conspiracy or aiding and abetting theories (which they

  cannot), their allegations of due process harms stemming from the Awards are legally and

  logically flawed. Plaintiffs claim that but for the Awards, DOE would not have suspended

  Plaintiffs without pay in supposed contravention of their Fourteenth Amendment rights. See,

  e.g., Amended Complaint ¶¶ 338, 339, 374, 375. This is untrue. Absent the Awards, Plaintiffs


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     While 42 U.S.C. § 1983 does not explicitly account for “aiding and abetting” violations of the statute, several
  courts have recognized such claims as allegations of conspiracy. See, Dykes v. Southeastern Pa. Transp. Auth., 68
  F.3d 1564, 1570 (3d Cir. 1995); Figueroa v. City of Camden, 580 F. Supp. 2d 390, 401-02 (D.N.J. 2008) (“While it
  is not entirely clear on the face of their Complaint, Plaintiffs clarify that they intended to allege that the Unions
  conspired with state and local officials in order to deprive Plaintiffs of their rights.”).



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  would still be subject to exclusion from facilities where students are present if those Plaintiffs

  remain unvaccinated or cannot obtain an accommodation – yet they would lack the myriad

  procedural and post-LWOP protections/options (severance and extended leave) provided for in

  the Awards. See, e.g., Marciano v. De Blasio, et al., __ F. Supp. 3d ___, No. 21-cv-10752 (JSR),

  2022 WL 678779, at *10 (S.D.N.Y. Mar. 8, 2022) (denying public employee’s challenge to

  LWOP for failure to vaccinate, where relevant union and employer lacked any award or

  agreement between the relevant union and public employer, and process for LWOP did not “fall[

  ] below the constitutional floor”).

           What Plaintiffs fail to appreciate is that the Awards created a series of rights and

  procedures pertaining to the unvaccinated that would not otherwise be unavailable to them.

  These include the ability to remain on paid leave while applications for accommodation are

  pending, the option to extend LWOP (and therefore health benefits), the ability to appeal to an

  outside arbitrator, and the availability of enhanced severance. See Amended Complaint Exs. E

  and F.

           Accordingly, claims that the Awards have somehow infringed on Plaintiffs’ rights are

  simply inaccurate; rather, the Awards safeguarded and elevated Plaintiffs’ rights.

           C.     The UFT and CSA Awards Are Valid as a Matter of Law

           Parties do not need to seek permission before voluntarily arbitrating disputes, and there is

  no prohibition on mutually agreeing to move to binding arbitration under the Taylor Law even

  absent a declaration of impasse. See generally Civil Service Law § 209. This is in keeping with

  the Taylor Law’s policy of “encourag[ing the] voluntary resolution of labor disputes involving

  public employees.” Matter of Alden Cent. Sch. Dist. v. Watson, 56 A.D.2d 713, 713 (4th Dep’t

  1977).



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         The Taylor Law is administered by PERB, whose decisions and interpretation of their

  statute should be accorded deference. Newburgh v. Pub. Emp. Rels. Bd., 97 A.D.2d 258, 260

  (3d Dep’t 1983), aff’d 63 N.Y.2d 793 (1984). PERB found that the UFT and the DOE were at

  impasse in negotiations, appointed a mediator, and then permitted the UFT and the DOE to

  voluntarily move to arbitration. See Amended Complaint ¶¶ 134, 148. Separately, CSA and the

  DOE engaged in arbitration regarding the same issues. See Amended Complaint ¶ 139.

         This Court, too, has recognized that, under the Taylor Law, parties may agree to move to

  binding impasse arbitration rather than follow PERB’s procedure. See, e.g., Margiotta v. Kaye,

  283 F. Supp. 2d 857, 860 (E.D.N.Y. 2003).

         Moreover, there is no contractual prohibition on moving to binding impasse arbitration.

  Plaintiffs seemingly conflate the limited authority of a grievance arbitrator under Article 22.C of

  the UFT-DOE CBA with the authority of an arbitrator empowered to make decisions to resolve

  contentious bargaining, which is not limited by the CBAs. Tellingly, the Amended Complaint

  does not appear to cite to any provisions of the CSA CBA, relying instead on conclusory

  allegations of nonspecific violations.

         Nor do the law or applicable CBAs prohibit an arbitrator’s retention of jurisdiction

  where, as here, an award provides for possible future procedure.

         In any event, the UFT and CSA, respectively, attempted to and could have negotiated

  implementation of the Mandate-related policies here – which several other unions did without

  resorting to mediation and arbitration. Thus, there is no reason to hold that the parties are

  prohibited from arbitrating those very same issues.

         The Awards and their substance are valid, and Plaintiffs’ claims that they have been

  injured as a result of the Awards’ procedures fail as a matter of law. The contours of Plaintiffs’



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  property interests in their employment are defined by applicable statutes and/or contract. See

  Bd. of Regents of State Colleges v. Roth, 408 U.S. 564, 577 (1972). The UFT Defendants’ and

  CSA Defendants’ respective CBAs with the DOE were modified by the Awards, the terms of

  which are incorporated into the CBAs by law, and which supersede provisions to the contrary.

  See Town of Southampton v. New York State Pub. Empl. Rels. Bd., 2 N.Y.3d 513, 523 (2004).

  Accordingly, any claims regarding placement on LWOP must be measured against Plaintiffs’

  rights under the CBAs as amended by the Awards.

                                          CONCLUSION

         For the reasons set forth herein and in the accompanying submissions, the UFT and CSA

  Defendants respectfully request that the Court:

             1. Dismiss all claims against the UFT and CSA Defendants, including those (a)

                 seeking a declaratory judgment that the UFT and CSA Awards were promulgated

                 without statutory or contractual authority; and (b) alleging that UFT and CSA

                 engaged in conspiracies regarding, or aided and abetted, violations of 42 U.S.C. §

                 1983; and

             2. award such other and further relief as the Court deems just and proper.

  Dated: April 4, 2022                              Respectfully submitted,


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